                       Case 5:13-cr-40070-JAR                            Document 19-6                 Filed 10/08/13             Page 1 of 1

         EXHIBIT 401


       AO 93 (Rev. 0l/09) Seatch and SeízLlre Warrant



                                                IJNtrBn Srares Dtsrnrcr CouRr                                                         ri'j::t:i ilii! f.j
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                                                                                    for the                                           .ì!.¿¿:"!' lri"-r Ì1,"u, :-!,Py
                                                                             District of Kansas

                         In the Matter of the Search of
(Briefly describe the properry b be sea¡'chcd or identity llß PTson by naue and addrest   )
    INFORMATION ASSOC]ATED WITH
                                                                                          )
                                                                                               case No.    /å' ln        - 5-o 71' K-A5
                                                                                          )
   "pigbreedell 97 I @yahoo'com"
                                                                                          )                          7
   T}IA'J'IS STORED A1'PREMISES CON'IÌOLLED BY
   YAI'ÍOOI INC.                                                                          )
                                                                                          )


                                                        SEARCH AND SEIZUR-E WÄRRANT
       To:        Any authorized law enforcement off,rcer
               An application by a federal law enforcement office¡ or an attorney for the government requests the sealch
   of the foltowi¡g person or properly located in the ÐigtÌirt-of-{iâùses (identiñt the percon or describe ùe pt'operty to be searchcd and gìve itr locat¡on)
      See Attachmerrt    A                                               Northem Distr.ict of California




       The person or properfy to be seat'ched, described above, is believed to conceal: ftdenrífy the person or describe the pr'opett), to be sei:ed)

                                                                                   See Attachment B




                  I find that the aÍÌrdavit(s), or any recorded testimony, establish probable cause to search and seize the person or
       property.

                  YOU ARE COMMANDED to execule this warrant on or before
                                                                                                                             lo          dol,Ð

             f,   in Ur. daytime 6:00 a.m. to 10         p,m.           fl    at any time in the day or night as I find reasonable cause hæ been establishecl

            Unless clelayed notice is autho¡ized below, you must give a copy of the warrant and a receìpt for the property taiten to the pet'son
       fiom whom, or from whose premises, the property was taken, or leave the copy and receipt at the place whete the propetty was taken,
       The officcr executing this wanant, or an offlicer present during fhe execution ofthe warrant, Dlust prepare an iuventory as requited
       by law and promptly return this warranl and inventory to United States Magistrate Judge                  K. Gary Sebelius




             ' I find that immediate notification may have an adverse result listed in I 8 U,S.C. 5 2105 (except for delay
       of triâl), and authorize the ofür:er exe      this warrant to delay notice to the person who, oL whose property, will be
       searched or seized þheck the appropriate box)   for           days (not to exeed j0).
                                                                      until, the facts jtrstifying, the later specific date of


       Date and time issuedl                                         (ttre.lA'

       Cig and state              Topeka, KS                                                  K, Gary Sebelius, United States Magistrate Judge
                                                                                                            Prin!¿d name and title
